Case 1:14-cv-01611-LO-JFA Document 950 Filed 07/20/18 Page 1 of 7 PageID# 25260



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

 BMG RIGHTS MANAGEMENT                         )
 (US) LLC, and ROUND HILL                      )
 MUSIC LP                                      )
                                               )
                Plaintiffs,                    )
                                               )
        v.                                     )       Case No. 1:14-cv-1611(LO/JFA)
                                               )
 COX COMMUNICATIONS, INC.,                     )
 COXCOM, LLC                                   )
          Defendants.                          )
                                               )

     MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION IN LIMINE NO. 2 TO
     EXCLUDE IRRELEVANT INFORMATION ABOUT RIGHTSCORP’S ALLEGED
                    SPOLIATION OF ITS SOURCE CODE

        Plaintiff BMG Rights Management (US) LLC (“BMG”) respectfully submits this

 Memorandum in Support of its Motion in Limine to Exclude Introduction of Irrelevant

 Information about Rightscorp, Inc.’s (“Rightscorp”) Alleged Spoliation of its Source Code.

 BMG requests an order prohibiting Defendants Cox Communications, Inc. and CoxCom, LLC

 (collectively “Cox” or “Defendants”) from referencing any alleged spoliation of Rightscorp’s

 source code and respectfully submits that no instruction should be given to the jury at the retrial

 regarding the alleged spoliation of Rightscorp’s source code.

        In the run-up to and during the first trial, Cox forced the Parties and the Court to engage

 in a long-running side litigation regarding the supposed spoliation of the Rightscorp source code.

 The premise of this was that the complete, produced version of the 2015 code was inadequate to

 show the Rightscorp system as it operated during the pre-November 2014 time period in dispute.

 But it turns out that this entire strand of litigation was a sham: Cox knew all along that “the

 system has remained the same.” Tr. at 510:7. Cox should not be permitted to waste yet another

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Case 1:14-cv-01611-LO-JFA Document 950 Filed 07/20/18 Page 2 of 7 PageID# 25261



 jury’s time with an irrelevant and confusing sideshow that is based on a premise – that the

 system materially changed between 2013 and 2015 – Cox knows to be false.

                                       LEGAL STANDARD

        The purpose of a motion in limine is to allow a court to rule on evidentiary issues in

 advance of trial in order to avoid delay, ensure an expeditious trial, and focus on the issues the

 jury will consider. See United States v. Brawner, 173 F.3d 966, 970 (6th Cir. 1999) (“The

 Federal Rules of Evidence, the Federal Rules of Criminal and Civil Procedure and interpretive

 rulings of the Supreme Court ... all encourage, and in some cases require, parties and the court to

 utilize extensive pretrial procedures-including motions in limine in order to narrow the issues

 remaining for trial and to minimize disruptions at trial.”). The decision to grant a motion in

 limine is within the Court’s discretion. See United States v. White, 405 F.3d 208, 212 (4th Cir.

 2005) (“We review rulings concerning the admission of evidence for abuse of discretion.”).

 Such motions serve important gatekeeping functions by allowing the trial judge to eliminate

 from consideration evidence that should not be presented to the jury.

        Only relevant evidence is admissible at trial, Fed. R. Evid. 402, and the Court may

 exclude otherwise relevant evidence “if its probative value is substantially outweighed by the

 danger of unfair prejudice.” Fed. R. Evid. 403. Evidence may be excluded when there is a

 significant danger that the jury might base its decision on emotion, or when non-party events

 would distract reasonable jurors from the real issues in a case. See Tennison v. Circus Circus

 Enters., Inc., 244 F.3d 684, 690 (9th Cir. 2001).

                                           ARGUMENT

        Cox should not be permitted to assert a spoliation argument based on a premise that it

 knows – and its counsel acknowledges – to be false. Cox’s claim that the supposed spoliation of



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Case 1:14-cv-01611-LO-JFA Document 950 Filed 07/20/18 Page 3 of 7 PageID# 25262



 the Rightscorp code matters is based on its assertion that “it is literally impossible . . . to know

 how the Rightscorp systems functioned at any point prior to July 2015 (when the current version

 of the Rightscorp code was finally all produced).” Dkt. 243 at 1. But Cox knows how the

 system functioned prior to July 2015, and it knows that “the system has remained the same.”

 Trial Tr. at 510:7-8. Because the system has fundamentally remained the same, the alleged

 spoliation of earlier versions of the code is an irrelevant distraction that can only confuse the

 jury.

         The heart of the Rightscorp system for detecting infringement consists of two code

 modules. Infringement Finder identifies internet users who make available and distribute

 copyrighted works. SampleIt2 downloads a full copy of the infringed work from infringers.

 Along with the complete 2015 code, BMG produced historical versions from 2013 of both

 Infringement Finder and SampleIt2. Rightscorp’s sole developer, Greg Boswell, also testified

 extensively at two depositions and then again at trial about the Rightscorp code. He described

 how the revisions made to the code did not affect the manner in which the system finds

 infringements. Trial Tr. at 883:23-884:12.

         Mr. Boswell’s testimony is consistent with the testimony of both BMG and Cox’s

 technical experts. See Trial Tr. (Rucinski) at 1600:17-25 (Q: “And then in your supplemental

 report, again noting some differences, you state that RC1 and RC2 operate in substantially the

 same way as RC current, right?” A: “Yes.”); Trial Tr. (Frederiksen-Cross) at 357:24-358:3

 (“The essential portions of the sampling logic, the part that goes out and does the handshake with

 the peer to see if it’s offering the work or the part that downloads a particular file from the peer

 has not changed very much at all. Those have essentially been the same throughout.”). Based on




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Case 1:14-cv-01611-LO-JFA Document 950 Filed 07/20/18 Page 4 of 7 PageID# 25263



 this evidence, Cox was able to determine – as its own counsel asserted – that “the system has

 remained the same.” Trial Tr. at 510:7-8.

        Because the Rightscorp system has fundamentally remained the same, the alleged

 spoliation has no probative significance and any reference to it will only serve to confuse the jury

 and prejudice BMG. There is no need for a sideshow regarding spoliation and the accompanying

 expenditure of time at trial when the underlying premise by which it was supposed to matter has

 been disclosed to be false by the admission of Cox’s prior counsel.

        Yet, in four rounds of briefing and at trial, Cox claimed that the 2015 code was materially

 different from earlier versions of the Rightscorp system. Cox sought sanctions, including the

 adverse inference instruction that ultimately issued in more limited form, based on the claim that

 it had “no way to understand, test, or evaluate those apparent differences, because it is

 impossible to reliably establish how Rightscorp’s systems historically operated.” Dkt. 243 at 20.

 When Judge Anderson identified the critical issue as “whether the heart of the [Rightscorp]

 system was the same based on what you have in 2013 and the version that was produced for July

 of 2015,” Dkt. 347 at 1, Cox did not acknowledge what it knew – that the system “remained the

 same.” Instead, it responded that “there is no direct evidence that Rightscorp’s systems

 historically functioned as they do now and many reasons to conclude that they did not.” Dkt.

 347 at 3.

        This should not continue. Because “the system has remained the same,” the 2015 code

 and Mr. Boswell’s testimony is sufficient to establish how the Rightscorp system operated during

 the relevant time period. Cox should not be permitted to waste time and confuse the jury with a

 spoliation argument whose premise it knows to be false.




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Case 1:14-cv-01611-LO-JFA Document 950 Filed 07/20/18 Page 5 of 7 PageID# 25264



        In the alternative, if Cox is allowed to present its spoliation case to the jury, the Court

 should not issue the adverse inference instruction that Judge Anderson recommended based on

 Cox’s misrepresentation that “it is impossible to reliably establish how Rightscorp’s systems

 historically operated” and that “there is no direct evidence that Rightscorp’s systems historically

 functioned as they do now and many reasons to conclude that they did not.” Dkt. 243 at 20; Dkt.

 347 at 3. In addition, BMG should be permitted to put into evidence the admission by Cox’s

 counsel that “the system remained the same.” Trial Tr. at 510:7-8. That statement is an

 admissible opposing party statement under Rule 801(d)(2). It is to be offered against Cox and

 was made by Cox’s lead trial counsel, who is “a person whom [Cox] authorized to make a

 statement on the subject,” Cox’s “agent” speaking “on a matter within the scope of that

 relationship and while it existed,” and was entitled to speak on behalf of Cox in a “representative

 capacity.” Rule 801(d)(2) (A), (C), (D).


                                            CONCLUSION

        For the reasons set forth above, Cox should be precluded from referencing any supposed

 spoliation by Rightscorp and the jury instruction regarding the supposed spoliation of

 Rightscorp’s code should not be submitted to the jury.




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Case 1:14-cv-01611-LO-JFA Document 950 Filed 07/20/18 Page 6 of 7 PageID# 25265



 Dated: July 20, 2018               Respectfully submitted,

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                                       6
                                                                                    
Case 1:14-cv-01611-LO-JFA Document 950 Filed 07/20/18 Page 7 of 7 PageID# 25266
                                                    



                                  CERTIFICATE OF SERVICE

          I hereby certify that on July 20, 2018, I electronically filed a true and correct copy of the
 foregoing using the Court’s CM/ECF system, which then sent a notification of such filing (NEF)
 to all counsel of record:

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